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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION

UNITED STATES OF AMERICA                      ) CR 218-36-01
                                              )
                  v.                          )
                                              )
JONATHAN LAMAR MANET                          )

   GOVERNMENT’S RESPONSE TO MOTION TO SUPPRESS FILED BY
           DEFENDANT JONATHAN LAMAR MANET

      Now comes the United States of America, by and through Bobby L. Christine,

United States Attorney for the Southern District of Georgia, and files this response

to Defendant Jonathan Lamar Manet’s pro se Motion to Suppress (Dkt. 60):

      1.     Manet’s pro se motion to suppress should not be considered by the

Court. Local Rule 44.2 provides as follows:

      LCrR 44.2 Pro Se Filings. Absent prior leave of Court, a defendant

      represented by counsel may not file a motion, brief, or other paper pro se,

      except for a motion for the appointment of new counsel or a motion to proceed

      pro se.

      2.     Defendant has not sought prior leave of Court to file his motion.

Wherefore, the Court should not consider Jonathan Manet’s pro se motion.

                                               Respectfully submitted,

                                               BOBBY L. CHRISTINE
                                               UNITED STATES ATTORNEY

                                               /s/ Karl I. Knoche

                                               Karl I. Knoche
                                               Assistant United States Attorney
                                               Georgia Bar No. 426624
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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (ANEF@) which was generated as a

result of electronic filing in this Court.

       This 21st day of February 2019.

                                             Respectfully submitted,

                                             BOBBY L. CHRISTINE
                                             UNITED STATES ATTORNEY

                                             /s/ Karl I. Knoche

                                             Karl I. Knoche
                                             Assistant United States Attorney
                                             Georgia Bar No. 426624

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